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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:08CR3178
                                         )
            v.                           )
                                         )             MEMORANDUM
RASDANIEL ELIJAH ROLLIE,                 )              AND ORDER
                                         )
                   Defendant.            )

      The defendant may be entitled to a reduction in sentence due to the retroactive
application of the “Crack Cocaine Amendment” to the federal Sentencing Guidelines
implementing the Fair Sentencing Act of 2010, effective November 1, 2011.         The
defendant should understand that I have made no determination whether the defendant
is covered by the Amendment or whether the defendant, if covered by the
Amendment, should be given a reduction. Those questions are yet to be determined.
With the foregoing in mind,


      IT IS ORDERED that:


      1.    Pursuant to General Order No.2011-12, the Federal Public Defender (or
            his nominee) is herewith appointed to represent the defendant.        The
            Clerk’s office shall provide the Federal Public Defender and the
            defendant with a copy of this order. Appointed counsel shall promptly
            enter an appearance.


      2.    The probation office has already provided a “Retroactive Sentencing
            Worksheet” to the undersigned. If counsel do not have a copy, counsel
            should contact the probation office to obtain one.


      3.    No later than Monday, May 14, 2012, counsel shall confer and do one of
            the following:
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                 A.    File a stipulation signed by both counsel containing the
                       following provisions: (i) an agreement that the defendant is
                       eligible for a sentence reduction pursuant to 18 U.S.C. §
                       3582(c) and U.S.S.G. § 1B1.10; (ii) an agreement that the
                       defendant may be resentenced without being present and
                       without further notice; and (iii) an agreement regarding the
                       recommended sentence.1


                 B.    In lieu of the stipulation provided in paragraph A, counsel
                       for the government shall contact my judicial assistant and
                       arrange a telephone conference with the undersigned and
                       counsel for the defendant so that further progression of this
                       case may be scheduled.


        4.       The Clerk shall provide a copy of this Memorandum and Order to
                 counsel and to the defendant at his or her last known address.


        April 3, 2012.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge




        1
            Counsel should note that there is a pending Rule 35(b) motion. (Filing no.
114.)

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